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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE,
   and LAURIE LOGER, on behalf of
   themselves and all others similarly situated,

   Plaintiffs,

   v.

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

   Defendants.                                            No. 12-0660-DRH



                            MEMORANDUM and ORDER

   HERNDON, District Judge:


                            Introduction and Background


         Pending before the Court is defendants’ motion to exclude the reports and

   testimony of Mark Harrison (Doc. 710). Plaintiffs oppose the motion (Doc. 746).

   Based on the following, the Court denies the motion.


                                   Legal Standard


         “A district court's decision to exclude expert testimony is governed

   by Federal Rules of Evidence 702 and 703, as construed by the Supreme Court

   in Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125

   L.Ed.2d 469 (1993).” Brown v. Burlington Northern Santa Fe Ry. Co., 765 F.3d

   765, 771 (7th Cir. 2014); see also Lewis v. Citgo Petroleum Corp., 561 F.3d 698,

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   705 (7th Cir. 2009). Rule 702, governing the admissibility of expert testimony,

   provides:

         A witness who is qualified as an expert by knowledge, skill,
         experience, training, or education may testify in the form of an
         opinion or otherwise if: (a) the expert's scientific, technical, or other
         specialized knowledge will help the trier of fact to understand the
         evidence or to determine a fact in issue; (b) the testimony is based on
         sufficient facts or data; (c) the testimony is the product of reliable
         principles and methods; and (d) the expert has reliably applied the
         principles and methods to the facts of the case.


   “In short, the rule requires that the trial judge ensure that any and all expert

   testimony or evidence admitted “is not only relevant, but reliable.” Manpower, Inc.

   v. Ins. Co. of Pa. 732 F.3d 796, 806 (7th Cir. 2013) (citing Daubert, 509 U.S. at

   589, 113 S.Ct. 2786); see also Bielskis v. Louisville Ladder, Inc., 663 F.3d 887,

   894 (7th Cir. 2011) (explaining that ultimately, the expert's opinion “must be

   reasoned and founded on data [and] must also utilize the methods of the relevant

   discipline”); Lees   v.   Carthage   College, 714   F.3d    516,   521    (7th    Cir.

   2013) (explaining the current version of Rule 702 essentially codified Daubert and

   “remains the gold standard for evaluating the reliability of expert testimony”).

   The Daubert principles apply equally to scientific and non-scientific expert

   testimony. See Manpower, Inc., 732 F.3d at 806 (citing Kumho Tire Co., Ltd. v.

   Carmichael, 526 U.S. 137, 147–49, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999)).


         Under the expert-testimony framework, courts perform the gatekeeping

   function of determining whether the expert testimony is both relevant and reliable

   prior to its admission at trial. See Manpower, Inc., 732 F.3d at 806; Lees, 714

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   F.3d at 521; United States v. Pansier, 576 F.3d 726, 737 (7th Cir. 2009) (“To

   determine reliability, the court should consider the proposed expert's full range of

   experience and training, as well as the methodology used to arrive [at] a particular

   conclusion.”). In doing so, courts “make the following inquiries before admitting

   expert testimony: first, the expert must be qualified as an expert by knowledge,

   skill, experience, training, or education; second, the proposed expert must assist

   the trier of fact in determining a relevant fact at issue in the case; third, the

   expert's testimony must be based on sufficient facts or data and reliable principles

   and methods; and fourth, the expert must have reliably applied the principles and

   methods to the facts of the case.” Lees, 714 F.3d at 521–22; see also Stollings v.

   Ryobi Techs., Inc., 725 F.3d 753, 765 (7th Cir. 2013); Pansier, 576 F.3d at 737.

         A district court's evaluation of expert testimony under Daubert does not

   “take the place of the jury to decide ultimate issues of credibility and

   accuracy.” Lapsley    v.   Xtek,    Inc., 689     F.3d   802,    805    (7th    Cir.

   2012) (citing Daubert, 509 U.S. at 596). Once it is determined that “the proposed

   expert testimony meets the Daubert threshold of relevance and reliability, the

   accuracy of the actual evidence is to be tested before the jury with the familiar

   tools of ‘vigorous cross-examination, presentation of contrary evidence, and

   careful instruction on the burden of proof.’” based on Id. The Stollings Court

   instructed, at page 766, “[a]n expert may provide expert testimony a valid and

   properly applied methodology and still offer a conclusion that is subject to doubt.

   It is the role of the jury to weigh these sources of doubt. In Daubert the Supreme



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   Court expressly envisioned this continued role for the jury when it reminded all

   that ‘[v]igorous cross-examination, presentation of contrary evidence, and careful

   instruction on the burden of proof are the traditional and appropriate means of

   attacking shaky but admissible evidence.’” Citing Daubert at page 596.

         Furthermore, Rule 403 states:

         The Court may exclude relevant evidence if its probative value is
         substantially outweighed by a danger of one or more of the following:
         unfair prejudice, confusing the issues, misleading the jury, undue
         delay, wasting time, or needlessly presenting cumulative evidence.

                                          Analysis

         The defendants maintain that Harrison’s opinions are nothing more than

   legal conclusions that invade the province of the jury and that Harrison lacks the

   required expertise and that his methodology is deficient. Defendants also argue

   that the opinions were rendered after an examination of certain documents but

   those documents are insufficient and that Harrison refused to consider key

   deposition testimony, that he mischaracterizes the facts and evidence and that his

   testimony is irrelevant and prejudicial. Lastly, defendants argue that Harrison

   should be barred because his former law firm, the Phoenix office of Bryan Cave,

   represented State Farm for years in class litigation similar to Avery. Plaintiffs

   counter that Harrison’s opinions satisfy each and every part of the Rule

   702/Daubert analysis.   Plaintiffs contend that Harrison drew on his personal

   knowledge and wealth of experience in legal and judicial ethics to form his

   opinions; examined relevant authorities regarding disqualification and explained

   in detail his reasoning and the basis for his expert opinions. Further, plaintiffs

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   contend that his testimony will assist the jury in understanding the evidence

   relating to Justice Karmeier’s involvement in Avery and assessing whether

   defendants engaged in broad-ranging RICO conspiracy. Lastly, Plaintiffs contend

   that Harrison does not have a conflict of interest because his former law firm

   represented State Farm in a single case almost twenty years ago as Harrison did

   not have a confidential relationship with State Farm or that State Farm shared

   confidential information regarding this case. The Court agrees with plaintiffs and

   denies the motion to exclude.


         Mark Harrison is a member of the law firm of Osborn Maledon, P.A. and

   licensed to practice law in both Arizona (1961) and Colorado (1991). For the last

   20 years of his practice, Harrison has been involved in matters dealing with legal

   ethics, lawyers’ licensure, professional liability, judicial ethics and discipline and

   risk management. He has represented and prosecuted judges in judicial conduct

   proceedings and is familiar with the codes of judicial conduct throughout the

   United States. Harrison was the Chair of the American Bar Association (“ABA”)

   Commission to Revise the Model Code of Judicial Conduct (the “Model Code”),

   Between 2008 and 2016, Harrison served as a member and later as Chair of the

   Board of Directors of Justice at Stake, a national non-profit organization

   dedicated to preserving fair and impartial courts.        Over the past five years,

   Harrison has written amicus briefs to United States Supreme Court involving

   judicial conduct. Reviewing Mr. Harrison’s qualifications, it appears that he has

   extensive experience in the field of judicial ethics.


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         Plaintiffs retained Harrison to express opinions about whether the decision

   of the Illinois Supreme Court to overturn the $1.5 billion judgment in favor of the

   plaintiff class in Avery v. State Farm was tainted, denied plaintiffs due process

   and deprived plaintiffs of the consideration and disposition of the appeal by a fair

   and impartial Court. In rendering his opinion, Harrison relied upon documents,

   testimony and information provided by plaintiffs’ counsel, his review of pertinent

   case law and ethics opinions and on his experience in the field of judicial ethics.

   In summary, Harrison opined: “The decision of the Illinois Supreme Court to

   overturn the $1.05 billion judgment in favor of plaintiff class in Avery v. State

   Farm, was tainted and denied plaintiffs due process and deprived plaintiffs of the

   consideration and disposition of the appeal by a fair and impartial Court.” In

   addition, Harrison also offered several other opinions:


         (1) There are factual disputes about the extent of Justice Karmeier’s
             knowledge of the nature and extent of State Farm’s direct and indirect
             involvement in and financial support of his candidacy and election
             campaign. However, it is neither appropriate nor necessary for me to
             resolve this factual question because the Illinois Judicial Ethics Opinion
             93-11 and case law previously cited confirm that the judge’s actual
             knowledge of facts which would warrant recusal did not relieve him of
             the duty to recuse. In fact, it was incumbent on Justice Karmeier to
             remain aware of any “potentially disqualifying information” and to bring
             it “to the attention of the litigants”. The cases and ethics opinion make
             quite clear that a judge cannot remain willfully ignorant of campaign
             contributions in order to insulate himself or herself from the risk of
             recusal.
         (2) The Avery case goes far beyond the ICJC’s standard for recusal. As in
             Caperton, the facts in Avery were “exceptional”, involving substantial
             contributions and a large verdict pending against a large company. And
             as in Caperton, the facts in Avery implicated the due process rights and
             the right to an impartial Court for the plaintiff class. In Caperton, the
             donor whose case was in issue had contributed approximately $3
             million or 64% of the funds contributed to the pivotal justice’s campaign

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             and the Supreme Court concluded that under the circumstances, that
             level of support violated due process. In the Avery case, State Farm
             contributed, directly or through various organizations, $3.52 million to
             Justice Karmeier’s campaign, funding 74 percent of the final Karmeier
             campaign budget. The stakes for State Farm in Avery were far greater
             than the stakes for Massey Coal Co. in Caperton -- $1 billion+ for State
             Farm, $50 million for Massey Coal. A fact not present in Caperton
             which raises an additional concern about the legitimacy of the decision
             in Avery is the fact that a major percentage on the funds contributed to
             the Karmeier campaign were funneled through various organizations
             like JUSTPAC and the Chambers of Commerce by State Farm and other
             entities which were not obligated to and did not disclose the names of
             their contributors. It is hard to imagine that any reasonable person,
             aware of all the pertinent facts, would have objectively believed Judge
             Karmeier could be impartial in deciding State Farm’s fate when $1
             billion was hanging in the balance.
         (3) Under Illinois law, each justice decides alone whether to recuse himself
             or herself. (In the Marriage of O’Brien¸958 N.E.2d at 728). This rule is
             legally anomalous because when a panel is deciding a case, the decision
             of one member of the panel to recuse has the potential to affect or
             invalidate the decision of the entire panel. As the Supreme Court in
             Williams v. Pennsylvania, and Aetna v. Lavoie, confirmed, decisions of
             an appellate court reflect the interchange and exchange between and
             among all members of the panel and “[a] multimember court must not
             have its guarantee of neutrality undermined, for the appearance of bias
             demeans the reputation and integrity not just of one jurist but of the
             larger institution of which he or she is a part.” Williams¸136 S.Ct. at
             1909; Aetna, 475 U.S. at 827-828. In view of the opinions of the
             Supreme Court in Williams and Aetna, Justice Karmeier’s participation
             tainted the decision of the entire Court, denied plaintiffs due process,
             and deprived plaintiffs of the consideration and disposition of the appeal
             by a fair and impartial Court.

         Here, the Court rejects defendants’ arguments and finds, pursuant to Rule

   702, Harrison’s opinions are both relevant and reliable.        Harrison’s extensive

   experience in the judicial ethics field provides sufficient basis for him to offer his

   opinions.   Further, the Court does not perceive anything in Harrison’s expert

   report as an attempt to offer legal conclusions. It is clear that Harrison is not




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   serving as an expert to determine whether defendants violated RICO.             His

   testimony relates to judicial ethics issues.


         In fact, Harrison’s report describes his methodology in that he explains that

   he first examined evidence which he gleaned from the many documents that he

   reviewed and put together a compendium of facts and evidence that are relevant

   to his ultimate inquiry.     Further, Harrison pronounces in detail the ethical

   provisions he found relevant given the facts that he relied upon, as well as the

   pertinent case law. The facts he relies on are, by the Court’s finding, sufficient

   and reliable. Further, the Court agrees with plaintiffs’ assessment of the facts and

   the reliability issues. After going through the documents, facts and evidence, the

   case law and the ethical provisions, Harrison derived conclusions and opinions

   about how those facts relate to the law and the ethics regulations and then

   Harrison opines about the preliminary issue of Justice Karmeier’s ethical

   violations. As stated previously, Harrison’s opinions do not go to the ultimate

   issue in this case of whether or not defendants committed a RICO violation. See

   Naeem v. McKesson Drug, 444 F.3d 593, 610 (7th Cir. 2006)(Seventh Circuit

   finding admission of expert testimony regarding Department of Transportation

   (DOT) regulations was not plain error: “the DOT regulations at issue do not

   determine the outcome of Ms. Naeem's claims; rather, they are only a piece of

   evidence regarding whether one of the disciplinary actions against Ms. Naeem was

   justified.”). The Court notes that neither Justice Karmeier nor any other Illinois

   Supreme Court Justice is a defendant in this matter.      Moreover, Harrison goes


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   into more detail about his methodology which confirms that his methodology is

   acceptable and reliable and it looks to trustworthy evidence to ultimately be able

   to get to his conclusions and opinions.


         Further, Federal Rule of Evidence 703 provides that an “expert may base an

   opinion on facts or data in the case that the expert has been made aware of or

   personally observed.” Fed.R.Evid. 703. “Unless the court orders otherwise, an

   expert may state an opinion – and give the reasons for it- with-out first testifying

   to the underlying facts or data. But the expert may be required to disclose those

   facts or data on cross-examination.” Fed.R.Evid. 705. Clearly, defendants may

   cross examine Harrison on why they feel his method is flawed and may cross

   examine Harrison to point out any discrepancies as to the correctness of

   Harrison’s opinions based upon facts that Harrison may or may not know.


         Lastly as to defendants’ argument regarding Harrison’s alleged conflict of

   interest, the Court agrees with plaintiffs and finds that a conflict of interest is not

   present. The litigation at bar is nothing like the one Harrison’s firm represented

   State Farm almost twenty years ago, substantially remote in time. Harrison did

   not have a confidential relationship with State Farm, Harrison neither worked on

   the case nor talked to attorneys in the firm about the case and State Farm did not

   disclose confidential information to Harrison that is relevant to this litigation.




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                                     Conclusion


       Accordingly, the Court DENIES defendants’ motion to exclude the reports

 and testimony of Mark Harrison (Doc. 710).


       IT IS SO ORDERED.

                                                     Judge Herndon
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                                                  United States District Judge




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